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 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     DONALD TAYLOR
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 7
 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )     No. 2:08-CR-263 FCD
                                     )
14                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
15        v.                         )     CONTINUING STATUS CONFERENCE
                                     )     AND EXCLUDING TIME
16   CHARLES BARKSDALE,              )
     DONALD TAYLOR, et al.,          )
17                                   )     Date: November 24, 2008
                    Defendants.      )     Time: 10:00 a.m.
18                                   )     Judge: Frank C. Damrell, Jr.
     _______________________________ )
19
20        IT IS HEREBY STIPULATED AND AGREED between the parties, through
21   undersigned counsel, that the status conference scheduled for November
22   24, 2008, may be continued to December 15, 2008 at 10:00 a.m.
23        The government recently obtained a superseding indictment adding
24   additional defendants.    Defendants Barksdale and Taylor and government
25   counsel continue to discuss resolving the case without trial but a number
26   of issues remain unresolved; additional discovery may be necessary in
27   light of the new indictment.      Two of the new defendants were recently
28   arrested in Arizona and are expected to be brought to California within
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 1   the next few weeks.      So that these matters may be resolved, and in light
 2   of the indictment adding new defendants, some of whom have yet to be
 3   arraigned, the parties agree that time under the Speedy Trial Act should
 4   be excluded from the date of this order through December 15, 2008,
 5   pursuant to Title 18, United States Code, Section 3161(h)(8)(A) and
 6   (B)(iv)(Local Code T4).
 7                                       Respectfully Submitted,
 8                                       DANIEL J. BRODERICK
                                         Federal Defender
 9
     Dated:    November 20, 2008         /s/ T. Zindel
10                                       TIMOTHY ZINDEL
                                         Assistant Federal Defender
11                                       Attorney for DONALD TAYLOR
12
     Dated:    November 20, 2008         /s/ T. Zindel for P. Hanly
13                                       PATRICK HANLY
                                         Attorney for CHARLES BARKSDALE
14
15                                       McGREGOR W. SCOTT
                                         United States Attorney
16
17   Dated:    November 20, 2008         /s/ T. Zindel for
                                         MATTHEW D. SEGAL
18                                       Assistant U.S. Attorney
19                                        O R D E R
20
            The status conference is continued to December 15, 2008 at 10:00
21
     a.m.   The court further finds that the ends of justice served by granting
22
     a continuance outweigh the best interests of the public and the defendant
23
     in a speedy trial.        Time is therefore excluded from the date of this
24
     order through December 15, 2008, pursuant to 18 U.S.C. § 3161(h)(8)(A)
25
     and (B)(iv).
26
            IT IS SO ORDERED.
27
     Dated:    November 20, 2008                    _______________________________________
28                                                  FRANK C. DAMRELL, JR.
                                                    UNITED STATES DISTRICT JUDGE
     Stip & Order                             -2-
